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                                                             U.S. Department of Justice

                                                             United States Attorney
                                                             District of New Jersey

__________________________________________________________________________________________________________________

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                                                             Newark, New Jersey 07102


                                                             September 16, 2021


Honorable Claire C. Cecchi, U.S.D.J.
Martin Luther King Federal Building and Courthouse
50 Walnut Street
Newark, New Jersey 07102

                 Re:      United States v. Goettsche et al., Crim. No. 19-877

Dear Judge Cecchi:

            Please find attached a Stipulation and Order of Interlocutory Sale
and Modification of Post-Indictment Restraining Order for the Court’s
consideration and endorsement.



                                                             Respectfully yours,

                                                             RACHAEL A. HONIG
                                                             Acting United States Attorney

                                                             s/ Sarah Devlin

                                                    By:      SARAH DEVLIN
                                                             Assistant U.S. Attorney
